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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE
DENNIS MAURER,Individually,

              Plaintiff,

vs.
                                                   Case No. 1:16-cv-1182-NLH-AMD
WASHINGTON COMMONS
CONDOMINIUM ASSOCIATION,INC.,a
New Jersey Non Profit Corporation, and CAPE
ADVISORS,INC., a New Jersey Corporation,

              Defendants.


                  STIPULATION FOR DISMISSAL WITH PREJUDICE

        Plaintiffs and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move
to dismiss this action with prejudice, a resolution of all matters in dispute having been made
pursuant to a Settlement Agreement executed between the parties. The parties have stipulated in
their agreement that the Court retain jurisdiction to enforce the terms and conditions of the
Settlement Agreement.
Respectfully Submitted,


s/Keith Harris                             s/ Russell L. Lichtenstein
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